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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:06CR116
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                MEMORANDUM
                                              )                 AND ORDER
CHARMAR BROWN,                                )
                                              )
              Defendant.                      )

       This matter is before the Court on the Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody (Filing No. 956) (“§ 2255

motion”) filed by the Defendant, Charmar Brown, through counsel.

       The Court previously issued a Memorandum and Order and Judgment (Filing Nos.

837, 838), denying the Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody (Filing No. 800). The Defendant’s

Motion to Alter or Amend the Judgment Pursuant to Federal Rule of Civil Procedure 59(e)

(Filing No. 842) was denied at Filing No. 845. The Court also denied Defendant Charmar

Brown’s Motion Requesting the Court to Reopen United States v. Brown (Filing No. 927)

which the Court construed as a successive § 2255 motion.

       Rule 9 of the Rules Governing Section 2255 Proceedings states, in pertinent part,

that “[b]efore presenting a second or successive motion, the moving party must obtain an

order from the appropriate court of appeals authorizing the district court to consider the

motion, as required by 28 U.S.C. § 2255, para. 8.” The Defendant’s successive § 2255

motion is denied for lack of an order from the Eighth Circuit allowing this Court to consider

the motion.
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      IT IS ORDERED:

      1.    The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

            Correct Sentence by a Person in Federal Custody (Filing No. 956) is denied;

            and

      2.    The Clerk is directed to mail a copy of this Memorandum and Order to the

            Defendant at his last known address.

      DATED this 25th day of August, 2016.

                                              BY THE COURT:


                                              s/Laurie Smith Camp
                                              Chief United States District Judge




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